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                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                           Dallas Division



                                                §
                                                §
Sheridon Shelby                                 §
Plaintiff                                       §
                                                §
v.                                              §      Civil Action No. 3:18-cv-532-B
                                                §
                                                §
                                                §
Kwik Kar/Guide Star                             §
Defendant                                       §




                           CLERK'S ENTRY OF DEFAULT

      The record reflects that service of the complaint has been made upon the Defendant
named below:


                                        Kwik Kar/Guide Star


        It appears from the record that service of the complaint has been made, that the Defendant
has failed to answer or otherwise defend as directed within the time allowed, and that the Plaintiff
has shown that failure through affidavit or otherwise.

      Therefore, upon Plaintiff's request, DEFAULT is entered against the Defendant
named above.



                                                           KAREN S. MITCHELL, CLERK
                                                           U.S. DISTRICT COURT


                                                           s/ K. Cheng
                                                           By: Deputy Clerk on 7/6/2018
